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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Case No. 16-cv-02981-KMT

  TECH INSTRUMENTATION, INC., a Colorado corporation,
  individually and on behalf of all others similarly situation

         Plaintiff,

  v.

  EURTON ELECTRIC COMPANY, INC., a California corporation

         Defendant.


                                    JOINT STATUS REPORT


         Plaintiff Tech Instrumentation, Inc. (“Plaintiff” or “TII”) and Defendant Eurton Electric

  Company, Inc. (“Defendant” or “Eurton”) submit this Joint Status Report, as Ordered by the Court

  on January 4, 2019. (Dkt. 64.)

         The Parties have fully briefed Plaintiff’s Motion to Approve Plaintiff’s Proposed Notice

  Plan. (Dkts. 65, 66, and 70.) The Parties are awaiting an Order regarding that Motion and have no

  scheduling needs at this time. The Parties propose that an updated status report addressing

  scheduling needs be filed within fourteen (14) days of an Order regarding Class notice.

         Additionally, the Parties note that they continue to engage in settlement discussions but

  have yet to reach an agreement.




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                                  CERTIFICATE OF SERVICE
         I hereby certify that on June 4, 2019, I caused the foregoing to be filed with the Court

  using the Court’s electronic filing system.



                                                /s/ Patrick H. Peluso




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